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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION



 E-LINK TECHNOLOGY CO., LTD.

                         Plaintiff,

 v.                                                    Case No.: 1:20-cv-00247
 SHENZHEN UNI-SUN ELECTRONICS CO.,
                                                       Hon. John J. Tharp, Jr.
 LTD., and Unknown Persons and/or Entities
 doing business under Amazon Seller IDs
 “FEISHAZO”, “LEMONGREEN”, AND
 “JIANGKUN”,

                         Defendants.




                        DECLARATION OF MINGSHAO ZHANG, Ph.D




I, Mingshao Zhang, Ph.D., declare as follows:

       1.      My name is Mingshao Zhang I currently act as an assistant professor at

Southern Illinois University Edwardsville. I have a very broad and deep understanding of

industrial design. In my last three years as an assistant professor, I have taught courses on the

subject of industrial design at Southern Illinois University Edwardsville. As such, I am very

well versed with complete industrial product design.
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         2.     I have been retained on behalf of E-Link Technology Co, Ltd as a consultant in

connection with the above-captioned matter. I have personal knowledge of the facts set forth

below or understand them to be true based on information provided to me by attorneys for E-

Link Technology Co, Ltd.

         3.     In formulating the opinions in my Declaration, the facts and data that I reference

are the type reasonably relied upon by experts in the field of testing, analysis, and

characterization of a wheeled vehicle in forming opinions and inferences upon the subject.

I.       BACKGROUND

         4.     I have a Bachelor’s, Master’s, and Doctorate degrees in Mechanical

Engineering. Throughout my education, research, and teaching appointments, I have

accumulated ten years of experience related to product design and development. In Southern

Illinois University Edwardsville, I have taught many product design courses, such as ME

482/484 Mechanical Engineering Design I&II, MRE 480/481 Design in Mechatronics and

Robotics I&II and IE 106 Engineering Problem Solving. Those courses all include an

extensive amount of materials in product design, development, and CAD.

         5.     A summary of my education, employment history, awards and honors,

publications, and presentations are provided in my CV, a copy which I submit in Appendix B.


II.      SCOPE OF WORK

         6.     I have been asked to provide my expert opinions on infringement and validity of

U.S. Patent No. 10,358,081 (the “’081 Patent”). In connection with this analysis, I reviewed the

relevant sections of the patents’ prosecution histories, as well as the other materials listed in

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Appendix A. I am compensated at the rate of $250/hour for my work done for the preparation of

this Declaration. If called to testify under oath (e.g., deposition or trial), I will be compensated at

the rate of $250/hour for such time. I have no financial interest in the outcome of this matter.

       7.      I understand that a motion for a temporary restraining order is being filed with the

United States District Court for the Northern District of Illinois Eastern Division along with a

Complaint alleging that Flying-Ant, Inc. (“Flying-Ant”) infringes or is about to infringe U.S.

Patent No. 10,358,081 (the “’081 Patent”).

       8.      I reserve the right to supplement or amend my opinions to account for new

developments in this case resulting from the discovery process or any other means.


III. OVERVIEW OF THE ‘081 PATENT

       9.      The face of the ’081 Patent (Ex. S-1) indicates that it issued on July 23, 2019,

from Application No. 16/016,333, which was filed in the USPTO on June 22, 2018. The face of

the ’081 Patent also indicates that it is a continuation of and claims priority to the CN

2017218114924 Chinese Application, which was filed on December 22, 2017.

       10.     The background of the specification of the ‘081 Patent discloses that “[a]t present,

most light-emitting designs of the wheel are to install LED lights on the wheels, to enable a

light-emitting effect.” See, e.g., the ’081 Patent at 1:27-29. It further discloses that “the present

light-emitting effect is relatively simple, and the light-emitting effect and pleasure to the public

need to be improved.” Id. at 1:29-30. According to the specification, “[t]he present disclosure

aims to provide a wheeled vehicle with great pleasure to the public and light-emitting effect and

a wheel of the wheeled vehicle for realizing the light-emitting effect.” Id. at 1:35-38. To address



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this aim, the specification discloses a wheel body comprises a light-emitting module. Id. at 1:43-

45.

        11.     The wheel claimed in Claim 1 of the ’081 Patent comprises a wheel body

comprising a light-emitting module; the light-emitting module comprises:

                 1.     a Light Emitting Diode (LED) light bar,

                 2.     a flat mirror, and

                 3.     a two-way mirror; wherein the LED light bar is arranged between the flat

                 mirror and the two-way mirror; both a mirror surface of the flat mirror and a

                 reflective surface of the two-way mirror face the LED light bar; and a transparent

                 surface of the two-way mirror faces an outer side of the wheel.


IV.     LEGAL STANDARDS


        A.      The ‘081 Patent’s Presumption of Validity

        12.      Counsel has informed me that a patent is presumed to be valid and

enforceable and this presumption can only be overcome if clear and convincing evidence is

presented that proves otherwise.

        13.      Counsel has informed me that the enablement requirement under 35 U.S.C. §

112 requires that a patent disclose sufficient information to enable or teach persons of ordinary

skill in the field of the invention, as of the effective filing date, to make and use the full scope

of the claimed invention without undue experimentation. Because patents are written for

persons of ordinary skill in the field of the invention, I further understand that a patent need not



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expressly state information that persons of ordinary skill would be likely to know or could

obtain.

          14.   Counsel has informed me that the written description requirement under 35

U.S.C. § 112 requires that a patent contain a written description of the product or process

claimed in the patent to ensure that the patent applicant actually invented the claimed subject

matter. I understand the written description requirement is satisfied if persons of ordinary skill

in the field of the invention would recognize, from reading the patent specification, that the

inventor possessed the subject matter finally claimed in the patent. The written description

requirement is satisfied if the specification shows that the inventor possessed his or her

invention as of the effective filing date, even though the claims themselves may have been

changed or new claims added since that time. Further, I understand that the claim must be

viewed as a whole and the exact words found in the claim need not be used.

          15.   Counsel has informed me that a patent is invalid for indefiniteness under 35

U.S.C. § 112 if it fails to conclude with one or more claims particularly pointing out and

distinctly claiming the subject matter which the applicant regards as the invention. I further

understand that a claim is invalid for indefiniteness if its language, when read in light of the

specification and the prosecution history, fails to inform, with reasonable certainty, those

skilled in the art about the scope of the invention.

          16.   Counsel has informed me that under 35 U.S.C. § 101 any new and useful

process, machine, manufacture, or composition of matter, or any new and useful improvement

thereof may be eligible for a patent with the exception that laws of nature, natural phenomena,

and abstract ideas are not patentable. I have further been informed that a claim is invalid


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under 35 U.S.C. § 101 if it is directed to one of those patent-ineligible concepts, and also fails

to include an element or combination of elements that is sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the ineligible concept itself.

       17.      Counsel has informed me that a claim is not patentable under 35 U.S.C. § 102

for lack of novelty if each and every element of the claim is described, either expressly or

inherently, in a single prior art reference in the same configuration in which those elements

are claimed. I understand that a claim that meets these conditions can be considered

“anticipated” by the prior art reference. Counsel has further informed me that to establish

anticipation by inherency; the inherent teaching must necessarily result from what is

described in the prior art reference. The mere probability that a certain thing may result from a

given set of circumstances is not sufficient to demonstrate inherency.

       18.      Counsel has informed me that a patent is invalid due to obviousness under 35

U.S.C. § 103 if it would have been obvious to a person of ordinary skill in the art of the

claimed invention at the time the invention was made. I understand that unlike anticipation,

which allows consideration of only one item of prior art, obviousness may be shown by

considering one or more than one item of prior art. I further understand that in reviewing

obviousness, hindsight should be avoided, and the patent should not be used as a road map for

selecting and combining items of prior art.

       19.      Counsel has informed me that the Supreme Court set out the framework for

the obviousness inquiry as follows:

       Under § 103, the scope and content of the prior art are to be determined; differences

       between the prior art and the claims at issue are to be ascertained; and the level of

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       ordinary skill in the pertinent art resolved. Against this background, the

       obviousness or non-obviousness of the subject matter is determined. Such

       secondary considerations as commercial success, long-felt but unsolved needs,

       failure of others, etc., might be utilized to give light to the circumstances

       surrounding the origin of the subject matter sought to be patented.

       20.     Counsel has informed me that secondary considerations of non-obviousness

are also referred to as objective indicia of non-obviousness, and that these must be

considered in every case where they are present. Counsel has also informed me that

secondary considerations include unexpected results, long-felt but unresolved need, failure

of others, industry skepticism followed by acceptance and industry praise, and commercial

success. Counsel has further informed me that there must be some nexus between the

asserted objective indicia of non-obviousness and the merits of the claimed invention.


       B.      The ‘081 Patent’ Enforceability

       21.     Counsel has informed me that a patent may be unenforceable due to inequitable

conduct. I understand that inequitable conduct requires clear and convincing evidence that the

patent applicant made misrepresentations or omissions material to patentability, that the

applicant did so with the specific intent to mislead or deceive the USPTO, and that deceptive

intent was the single most reasonable inference to be drawn from the evidence.


       C.      The Infringement of the ‘081 Patent

       22.     Counsel has informed me that a determination of infringement requires: (1)

construing the patent claims from the point of view of a person of ordinary skill in the art at


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the time of the invention; and (2) determining whether the accused product meets each element

of the construed claims.

        23.    Counsel has also informed me that for infringement, a claim element may be

met either literally or under the “doctrine of equivalents.” I also understand that a claim

element may be met under the doctrine of equivalents if it performs the same function, in the

same way, providing the same result, as the claim element or if the differences between the

claimed element and the accused element amount to no more than insubstantial differences.

Further, I understand that this analysis is conducted at the time that the alleged infringement

commenced.

        24.    Counsel has further informed me that prosecution history estoppel arises when

a patent applicant makes a “clear and unmistakable surrender” of subject matter or narrows a

claim to avoid prior art or other concerns that make the claim not patentable. I understand that

in such a scenario, the applicant is estopped from using the doctrine of equivalents to recapture

the surrendered subject matter.


V.      LEVEL OF ORDINARY SKILL

        25.    Counsel has informed me that “a person of ordinary skill in the relevant field” is

a hypothetical person who is presumed to have known the relevant art at the time of the

invention, and to whom one could assign a routine task with reasonable confidence that the task

would be successfully carried out. I have been advised that the relevant timeframe is prior to

December 22, 2017.

        26.    By virtue of my education, experience, and training, I am familiar with the level

of skill in the art of the ‘081 Patent prior to December 22, 2017.

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          27.   In my opinion, a person of ordinary skill in the relevant field prior to December

22, 2017, would include someone who had, through education or practical experience, the

equivalent of a bachelor’s degree in mechanical engineering, or complementary discipline. This

experience would be assumed sufficient to endow the person of ordinary skill in the art with

industrial experience in the designing and manufacturing products for consumer products.


VI.       VALIDITY OF THE ‘081 PATENT

          28.   As previously stated, Counsel has informed me that the claims of the ‘081 Patent

are presumed valid and enforceable.

          29.   I have reviewed the specification, the prosecution histories, and the claims of the

‘081 Patent and have seen nothing that leads me to believe the claims of the ‘081 Patent are

invalid or unenforceable. The specifications of the ‘081 Patent adequately enable a person of

skill in the art to practice the claimed inventions. Additionally, the specifications of the ‘081

Patent show that the inventors possessed the claimed inventions as of the effective filing date.

The claims are also sufficiently definite to apprise one of skill in the art of their scope.

Furthermore, the claims of the ‘081 Patent are not directed to ineligible subject matter.

          30.   In addition, I have reviewed the references cited during prosecution. No cited

reference alone or in combination with another cited reference teaches all the elements or steps

of any claim of the ‘081 Patent. Moreover, during prosecution of the ‘081 Patent, the Examiner

did not issue a rejection and allowed the ‘081 Patent after a notice to file corrected application

papers.

          31.   The Examiner stated in the notice of allowance that “[i]n combination with the

other limitations nothing in the best prior art of record teaches, suggest, or discloses: ‘wherein

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the LED light bar is arranged between the flat mirror and the two-way mirror: both a mirror

surface of the flat mirror and a reflective surface of the two-way mirror face the LED light bar;

and a transparent surface of the two-way mirror faces an outer side of the wheel.’” Notice of

Allowance and Fees Due (PTOL-8), Page 2.

       32.       The Examiner further stated how the U.S. Pat. No. 6,322,237 (“Lee”) “teaches a

wheel with an LED bar but fails to teach the claimed optical setup with the two-way mirror.”

Additionally, how U.S. Pat. No. 6,62,726 (“Gloodt”) “fails to teach the specifics of the claimed

optical setup.” Id., Page 3. Lastly, how U.S. Pub. 20180268747 (“Braun”) “does not teach a

wheel.” Id.

       33.       Accordingly, I do not foresee Flying-Ant presenting any evidence that would

invalidate any claim of the ‘081 Patent or render the ‘081 Patent unenforceable by clear and

convincing evidence.


VII. INFRINGEMENT BY Flying-Ant

       A.        Flying-Ant’s Hoverboard model HY-A06 Infringes the ’081 Patent

       34.       It is my opinion, studying Flying-Ant’s Hoverboard model HY-A06 (“HY-

A06”), that Flying-Ant’s HY-A06 infringes at least Claims 1, 2, 7-11, and 18-20 of the ’081

Patent either literally or under the doctrine of equivalents. I have based this opinion based on the

specification.

                 1.     Flying-Ant’s Literal Infringement of Claim 1 of the ’081 Patent

       35.       Claim 1 of the ’081 Patent recites: “A wheel comprising: a wheel body

comprising a light-emitting module; the light-emitting module comprises a Light Emitting Diode

(LED) light bar, a flat mirror, and a two-way mirror; wherein the LED light bar is arranged
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between the flat mirror and the two-way mirror; both a mirror surface of the flat mirror and a

reflective surface of the two-way mirror face the LED light bar; and a transparent surface of the

two-way mirror faces an outer side of the wheel.”

       36.      Flying-Ant’s HY-A06 includes a wheel comprising: a wheel body comprising a

light-emitting module; the light-emitting module comprises a Light Emitting Diode (LED) light

bar, a flat mirror, and a two-way mirror; wherein the LED light bar is arranged between the flat

mirror and the two-way mirror; both a mirror surface of the flat mirror and a reflective surface of

the two-way mirror face the LED light bar; and a transparent surface of the two-way mirror faces

an outer side of the wheel. As can be seen in Table 1 below. The wheel comprises a light-

emitting module. The light-emitting module comprises an LED light bar, a flat mirror, and a two-

way mirror. The arrangement of the LED light bar is between the flat mirror and the two-way

mirror. Both the mirror surface of the flat mirror and the reflective surface of the two-way mirror

face the LED light bar. The transparent surface of the two-way mirror faces the outer side of the

wheel. Flying-Ant’s HY-A06is constructed as claimed in Claim 1 and has the function as

described in the ’081 specification.

   Table 1. Infringement chart for Claim 1 of the ’081 Patent vs. Flying-Ant’s HY-A06
 Claim U.S. Patent No.      Flying-Ant’s Hoverboard model HY-A06 (“HY-A06”)
         10,358,081

 1        [1.0] A wheel         The HY-A06 discloses a wheel. See FIGS. 1 and 2
          comprising:           (annotated and provided below). FIG 1 shows a wheel on
                                the HY-A06. FIG 2 shows the wheel and its components.




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                             FIG. 1 (annotated).




                             FIG. 2 (annotated).

       [1.1] a wheel body    HY-A06 discloses a wheel body comprising a light-
       comprising a light-   emitting module. See FIGS. 2 and 3 (annotated and
       emitting module;      provided below). FIG. 2 shows a disassembled light-
                             emitting module and its components. FIG. 3 shows a
                             partially disassembled light-emitting module.




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                           FIG. 2 (Annotated).




                           FIG. 3 (annotated)



       [1.2A] the light-   HY-A06 discloses a light-emitting module comprising a
       emitting module     LED light bar. See FIGS. 2 and 3 (annotated and provided
       comprises a Light   below). FIG. 2 shows a light-emitting module with an LED
       Emitting Diode      light bar. FIG. 3 shows a disassembled light-emitting
       (LED) light bar …   module with a light bar.




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                            FIG. 3 (annotated).




                            FIG. 2 (annotated).



       [1.2B] the light-    HY-A06 discloses a light-emitting module comprising a
       emitting module      flat mirror. See FIG. 2 (annotated and provided below).
       comprises … a flat   FIG. 2 shows a disassembled light-emitting module with a
       mirror …             flat mirror.




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                             FIG. 2 (annotated)

       [1.2C] the light-     HY-A06 discloses a light-emitting module comprising a
       emitting module       two-way mirror. See FIG. 2 (annotated and provided
       comprises … a         below). FIG. 2 shows a disassembled light-emitting
       two-way mirror;       module with a two-way mirror.




                             FIG. 2 (annotated)

       [1.3] wherein the     HY-A06 discloses an LED light bar arranged between the
       LED light bar is      flat mirror and the two-way mirror. See FIGS. 2 and 4
       arranged between      (annotated and provided below). FIG. 2 shows an LED
       the flat mirror and   light bar, flat mirror and two-way mirror. FIG. 4 shows an
       the two-way           LED light bar arranged between the flat mirror and the
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       mirror;               two-way mirror.




                             FIG. 2 (annotated).




                             FIG. 4 (annotated)



       [1.4] both a mirror   HY-A06 discloses both a mirror surface of the flat mirror
       surface of the flat   and a reflective surface of the two-way mirror facing the
       mirror and a          LED light bar. See FIG. 4 (annotated and provided below).

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       reflective surface    FIG. 4 shows both a mirror surface of the flat mirror and a
       of the two-way        reflective surface of the two-way mirror facing the LED
       mirror face the       light bar.
       LED light bar;




                             FIG. 4 (annotated)

        [1.5] and a          HY-A06 discloses a transparent surface of the two-way
       transparent surface   mirror facing an outer side of the wheel. See FIGS. 2 and 4
       of the two-way        (annotated and provided below). FIG. 2 shows a
       mirror faces an       transparent surface of the two-way mirror facing an outer
       outer side of the     side of the wheel. FIG. 4 shows a transparent surface of the
       wheel.                two-way mirror facing an outer side of the wheel.




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                         FIG. 2 (annotated)




                         FIG. 4 (annotated)




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               2.     Flying-Ant’s Literal Infringement of Dependent Claims

       37.      The dependent claims are also infringed by Flying-Ant’s HY-A06. As can be

seen in Table 2 below. The wheel contains a bracket inlaid in the wheel body and the LED

light bar, the flat mirror, and the two-way mirror mounted on the bracket. Furthermore, the

light-emitting module is arranged at one side of the wheel body. The LED light bar contains a

plurality of LED lights uniformly distributed and is in the shape of an annulus. The HY-A06

is constructed as claimed in Claim 2, 7,-11, and 18-20 and has the function as described in the

’081 specification.




          Table 2. Infringement chart for Claims 2, and 7-10 of the ’081 Patent
                            vs. Flying-Ant’s HY-A06.



 Claim    U.S. Patent No. Flying-Ant’s Hoverboard model HY-A06 (“HY-A06”)
          10,358,081

 2        [2.0] The wheel of    HY-A06 discloses a wheel comprising a light-emitting
          claim 1, wherein      module comprising a bracket. See FIG. 2 (annotated and
          the light-emitting    provided below). FIG. 2 shows a wheel with partially
          module further        disassembled light-emitting module with a bracket.
          comprises a
          bracket;




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                              FIG. 2 (annotated)

       [2.1] the bracket is   HY-A06 discloses a bracket inlaid in a wheel body. See
       inlaid in the wheel    FIG. 3 (annotated and provided below). FIG. 3 shows a
       body                   bracket inlaid in the wheel body.




                              FIG. 3 (annotated).

       [2.2] and the LED      HY-A06 discloses an LED light bar, flat mirror, and two-
       light bar, the flat    way mirror mounted on a bracket See FIGS. 2 and 4
       mirror, and the        (annotated and provided below). FIG. 2 shows an LED
       two-way mirror         light bar, flat mirror, two-way mirror mount, and bracket.
       are mounted on the     FIG. 4 shows the LED light bar, the flat mirror, and the

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       bracket.             two-way mirror are mounted on the bracket.




                            FIG. 2 (annotated)




                            FIG. 4 (annotated)



7      [7.0] The wheel of   HY-A06 discloses a light-emitting module arranged at one
       claim 1, wherein     side of the wheel body. See FIGS. 2 and 3 (annotated and
       the light-emitting   provided below). FIG. 2 shows a disassembled light-
       module is arranged   emitting module arranged at one side of the wheel body.

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       at one side or two   FIG. 3 shows a partially disassembled light-emitting
       sides of the wheel   module arranged at one side of the wheel body.
       body.




                            FIG. 2 (annotated)




                            FIG. 3 (annotated)

8      [8.0] The wheel of   HY-A06 discloses a plurality of LED lights arranged on
       claim 1, wherein a   the LED light bar. See FIGS. 2 and 3 (annotated and
       plurality of LED     provided below). FIG. 2 shows a disassembled light-
       lights is arranged   emitting module with a plurality of LED lights is arranged
       on the LED light     on the LED light bar. FIG. 3 shows a partially
       bar …                disassembled light-emitting module with a plurality of
                            LED lights is arranged on the LED light bar.

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                            FIG. 2 (annotated)




                            FIG. 3 (annotated)



       [8.1] The wheel of   HY-A06 discloses a plurality of LED lights uniformly
       claim 1, wherein     distributed on the LED light bar. See FIGS. 2 and 3
       … the plurality of   (annotated and provided below). FIG. 2 shows the plurality
       LED lights is        of LED lights uniformly distributed on the LED light bar.
       uniformly            FIG. 3 shows the plurality of LED lights uniformly
       distributed on the   distributed on the LED light bar.
       LED light bar…


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                             FIG. 2 (annotated)




                             FIG. 3 (annotated)



       [8.2] The wheel of    HY-A06 discloses an LED light bar in the shape of an
       claim 1, wherein      annulus. See FIGS. 2 and 3 (annotated and provided
       … the LED light       below). FIG. 2 shows an LED light bar in the shape of an
       bar is in the shape   annulus. FIG. 3 shows an LED light bar in the shape of an
       of an annulus         annulus.




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                          FIG. 2 (annotated)




                          FIG. 3 (annotated)



9      [9.0] A wheeled HY-A06 discloses a wheeled vehicle. See FIGS. 1 and 5
       vehicle         (provided below). FIG. 1 shows a wheel of a vehicle. FIG.
                       5 shows multiple wheels of the vehicle.




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                          FIG. 1 (annotated)




                          FIG. 5 (annotated).

       [9.1] A wheeled HY-A06 discloses a wheel comprising a frame. See FIGS.
       vehicle,           1 and 5 (provided below). FIG. 1 shows the frame of a
       comprising a frame wheeled vehicle. FIG. 5 shows the frame of a wheeled
                          vehicle.




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                           FIG. 1 (Annotated).




                           FIG. 5 (annotated).
       [9.2] wherein the HY-A06 discloses a wheel arranged on a frame. See FIGS.
       wheel of claim 1 is 1 and 5 (provided below). FIG. 1 shows the wheel on the
       arranged on the frame. FIG. 5 shows the wheel on the frame.
       frame




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                           FIG. 1 (annotated).




                           FIG. 5 (annotated).
10     [10.0] The wheeled HY-A06 discloses a wheeled vehicle in the form of a
       vehicle of claim 9, balanced scooter. See FIG. 5 (provided below). FIG. 5
       wherein         the shows a wheeled vehicle in the form of a balanced scooter.
       wheeled vehicle is
       … a balanced
       scooter [or]




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                             FIG. 5 (annotated).
       [10.1] The wheeled HY-A06 discloses a wheeled vehicle in the form of an
       vehicle of claim 9, electric scooter. See FIG. 5 (provided below). FIG. 5
       wherein         the shows a wheeled vehicle in the form of an electric scooter.
       wheeled vehicle is
       … an electric
       scooter




                             FIG. 5 (annotated).
11     [11.0] The wheeled    HY-A06 discloses a light-emitting module comprising a
       vehicle of claim 9,   bracket. See FIG. 2 (annotated and provided below). FIG. 2
       wherein the light-    shows a disassembled light-emitting module with a
       emitting module       bracket.
       further comprises a
       bracket;

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                              FIG. 2 (annotated)
       [11.1] The wheeled HY-A06 discloses a bracket inlaid in a wheel body. See FIG.
       vehicle of claim 9, 2 (annotated and provided below). FIG. 2 shows a bracket
       wherein … the inlaid in the wheel body.
       bracket is inlaid in
       the wheel body;




                              FIG. 2 (annotated)
       [11.2] The wheeled     HY-A06 discloses an LED light bar, a flat mirror, and a two-
       vehicle of claim 9,    way mirror mounted on a bracket. See FIG. 4 (annotated and
       wherein … the          provided below). FIG. 4 shows an LED light bar, flat mirror,
       LED light bar, the     and two-way mirror mounted on the bracket.
       flat mirror, and the
       two-way mirror are
                                              28
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       mounted    on the
       bracket




                              FIG. 4 (annotated)
18     [18.0] The wheeled     HY-A06 discloses a light-emitting module arranged at one
       vehicle of claim 9,    side of the wheel body. See FIGS. 2 and 3 (annotated and
       wherein the light-     provided below). FIG. 2 shows a disassembled light-
       emitting module is     emitting module arranged on one side of the wheel body.
       arranged at one        FIG. 3 shows a disassembled light-emitting module
       side or two sides of   arranged on one side of the wheel body.
       the wheel body




                              FIG. 2 (annotated)



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                             FIG. 3 (annotated)


19     [19.0] The wheeled    HY-A06 discloses a plurality of LED lights arranged on
       vehicle of claim 9,   the LED light bar. See FIGS. 2 and 3(annotated and
       wherein a plurality   provided below). FIG. 2 shows a plurality of LED lights
       of LED lights is      arranged on the LED light bar. FIG. 3 shows a plurality of
       arranged on the       LED lights arranged on the LED light bar.
       LED light bar …




                             FIG. 2 (annotated)




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                             FIG. 3 (annotated)


       [19.1] The wheeled    HY-A06 discloses a plurality of LED lights uniformly
       vehicle of claim 9,   distributed on the LED light bar. See FIGS. 2 and 3
       wherein … the         (annotated and provided below). FIG. 2 shows the plurality
       plurality of LED      of LED lights uniformly distributed on the LED light bar.
       lights is uniformly   FIG. 3 shows the plurality of LED lights uniformly
       distributed on the    distributed on the LED light bar.
       LED light bar…




                             FIG. 2 (annotated).



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                             FIG. 3 (annotated)


       [19.2] The wheeled    HY-A06 discloses an LED light bar in the shape of an
       vehicle of claim 9,   annulus. See FIGS. 2 and 3 (annotated and provided
       wherein … the         below). FIG. 2 shows an LED light bar in the shape of an
       LED light bar is in   annulus. FIG. 3 shows an LED light bar in the shape of an
       the shape of an       annulus.
       annulus.




                             FIG. 2 (annotated)




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                            FIG. 3 (annotated)


20     [20.0] The wheeled   HY-A06 discloses a wheeled vehicle in the form of a
       vehicle of claim     balanced scooter. See FIG. 5 (annotated and provided
       19, wherein the      below). FIG. 5 shows a wheeled vehicle in the form of a
       wheeled vehicle is   balanced scooter.
       a … a balance
       scooter, [or]




                            FIG. 5 (annotated).
       [20.1] The wheeled HY-A06 discloses a wheeled vehicle in the form of an
       vehicle of claim electric scooter. See FIG. 5 (provided below). FIG. 5 shows
       19, wherein … an a wheeled vehicle in the form of an electric scooter.
       electric scooter

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                                FIG. 5 (annotated).



               3. Flying-Ant Infringement of the ’081 Patent under the Doctrine of

               Equivalents

       38.      In the case that the Court determines that Flying-Ant’s HY-A06does not

literally infringe the ’081 Patent, I have additionally determined that the HY-A06 infringes the

’081 Patent under the doctrine of equivalents. The HY-A06 discloses a wheel comprising: a

wheel body comprising a light-emitting module or its equivalent. The equivalent light-emitting

module performs the same function, in the same way, providing the same result, as the light-

emitting module of claim 1. The equivalent light-emitting module comprises a Light Emitting

Diode (LED) light bar, a flat mirror, and a two-way mirror. The LED light bar is arranged

between the flat mirror and the two-way mirror. Both a mirror surface of the flat mirror and a

reflective surface of the two-way mirror face the LED light bar. A transparent surface of the

two-way mirror faces an outer side of the wheel.



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VIII. CONCLUSION

       39.      Thus, for all of the reasons detailed above, I conclude that the ‘081 Patent is

not invalid and that Flying-Ant’s HY-A06infringes the ’081 Patent literally. To the extent the

court finds otherwise, I additionally conclude that the HY-A06 infringes under the doctrine of

equivalents.

       40.      I declare under penalty of perjury that the foregoing is my true and correct

opinion. Executed on January 6, 2020.




                                               Mingshao Zhang, Ph.D.
                                            _____________________________________




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                                        APPENDIX A


                                    Materials Considered


U.S. Patent No. 10,358,081.


Prosecution History of Application No. 13/951,034, which issued as U.S. Patent No.

10,358,081, including the references cited therein.




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                                        APPENDIX B

                 CURRICULUM VITAE OF MINGSHAO ZHANG, PH.D.




                             Mingshao Zhang, Ph.D.

                           Southern Illinois University Edwardsville

                                     Mech and Indus Engr

                                       (618) 650-5174

                                   Email: mzhang@siue.edu




Education


Ph D, Stevens Institute of Technology, 2016.
Major: Mechanical Engineering
Dissertation Title: Vision-based Object Tracking using 3-D Scanners with Applications in
Educational Laboratories


MS, Stevens Institute of Technology, 2012.
Major: Mechanical Engineering


BSE, University of Science and Technology of China, 2010.
Major: Mechanical Engineering and Automation

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Professional Positions


Assistant Professor, Southern Illinois University Edwardsville. (August 16, 2016 - Present).


STEM Center Faculty Fellow, Southern Illinois University Edwardsville. (July 1, 2018 - June 30,
2019).


Graduate Research Assistant, Stevens Institute of Technology. (August 20, 2010 - May 30,
2016).


Undergraduate Research Assistant, University of Science and Technology of China. (February 1,
2009 - May 30, 2010).


Contracts, Grants and Sponsored Research


Funded, External:


Zhang, M. (Principal), "Support Work for Autonomous Floor-Cleaning Robot," Sponsored by
Arch & Lake, LLP, Private, $6,937.09. (April 1, 2018 - December 31, 2018).


Zhang, M. (Principal), "Phase II: Improvement of Educational Robotic Platform," Sponsored by
WeEducation Group, Inc., Private, $26,146.40. (March 28, 2018 - December 31, 2018).


Zhang, M. (Principal), "Development of an Educational Robotic Platform," Sponsored by
Wailian Education Group, INC., Private, $56,304.00. (July 5, 2017 - October 5, 2017).


Funded, Internal:




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Zhang, M. (Principal), "STEM Center Faculty Fellow," Sponsored by Southern Illinois
University Edwardsville, Southern Illinois University Edwardsville, $6,000.00. (July 1, 2018 -
June 30, 2019).


Zhang, M. (Principal), Lotfi Yagin, N. (Co-Principal), Wang, Y. (Co-Principal), Shang, Y. (Co-
Principal), Weinberg, J. B. (Co-Principal), "Research Equipment & Tools Program," Sponsored
by Southern Illinois University Edwardsville, Southern Illinois University Edwardsville,
$11,797.00. (March 16, 2018 - June 30, 2018).


Zhang, M. (Co-Principal), Lotfi Yagin, N. (Principal), "Development of Low-cost Educational
Platforms to Promote Mechatronics among the University Community and General Public,"
Sponsored by Excellence in Undergraduate Education, Southern Illinois University
Edwardsville, $4,000.00. (November 1, 2017 - June 30, 2018).


Zhang, M. (Supporting), Lotfi Yagin, N. (Principal), Noble, B. L. (Supporting), Hankins, M. J.
(Supporting), "Research Equipment and Tools Grant," Sponsored by Graduate School, Southern
Illinois University Edwardsville, $13,451.00. (September 1, 2017).


Zhang, M., "Graduate School New Faculty Incentive Program Funds," Sponsored by Southern
Illinois University Edwardsville, Southern Illinois University Edwardsville, $2,000.00. (March 1,
2018 - 2018).


Publications
Book Chapters


Zhang, Z., Zhang, M., Chang, Y., Aziz, E.-S., Esche, S. K., Chassapis, C. (2018). Collaborative
virtual laboratory environments with hardware in the loop. Cyber-Physical Laboratories in
Engineering and Science (pp. 363-402). Springer.


Journal Articles




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Zhang, M., Zhang, Z., Chang, Y., Aziz, E.-S., Chassapic, C. (2018). Recent developments in
game-based virtual reality educational laboratories using the Microsoft Kinect. International
Journal of Emerging Technologies in Learning, 13(1), 138-159.


Rafibakhsh, N., Zhang, M., Lee, H. Felix (2018). Comparison of Three Non-contact Scanners for
Reverse Engineering: A Case Study for Industrial Products. Advancement in Mechanical
Engineering and Technology, 1(1), 24-33 (10 pages).


Zhang, Z., Zhang, M., Chang, Y., Esche, S., Chassapis, C. (2016). Real-time 3D Reconstruction
for Facilitating the Development of Game-based Virtual Laboratories. Computers in Education
Journal, 7(1), 85-99.


Chang, Y., Aziz, E.-S., Zhang, Z., Zhang, M., Esche, S. (2016). Usability evaluation of a virtual
educational laboratory platform. Computers in Education Journal, 7(1), 24-36.


Zhang, M., Zhang, Z., Chang, Y., Esche, S. K., Chassapis, C. (2015). Kinect-based Universal
Range Sensor and its Application in Educational Laboratories. International Journal of Online
Engineering, 11(2), 26–35.


Zhang, Z., Zhang, M., Tumkor, S., Chang, Y., Esche, S. K., Chassapis, C. (2013). Integration of
Physical Devices into Game-based Virtual Reality. International Journal of Online Engineering,
9(5), 25–38.


Conference Proceedings


Zhang, M., Duan, P., Zhang, Z., Esche, S. (2018). Development of Telepresence Teaching
Robots With Social Capabilities. Pittsburgh: 2018 International Mechanical Engineering
Congress & Exposition.


Zhang, Z., Zhang, S., Zhang, M., Esche, S. (2018). Immersive Educational Systems with
Procedure-Oriented Combination of Real and Virtual Environments. Pittsburgh: 2018
International Mechanical Engineering Congress & Exposition.



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Zhang, Z., Zhang, A., Zhang, M., Esche, S. (2018). Conceptual Framework for Integrating a
Wireless Sensor and Control Network into a Robotics Course for Senior Students of Mechanical
Engineering Technology. Salt Lake City: ASEE Annual Conference and Exposition.


Zhang, M., Lotfi Yagin, N., Zhang, Z., Esche, S. (2017). Development of automatic
reconfigurable robotic arms using vision-based control. 2017 ASEE Annual Conference &
Exposition.


Zhang, Z., Zhang, M., Chang, Y., Esche, S., Chassapis, C. (2016). A virtual laboratory combined
with biometric authentication and 3D reconstruction. Phoenix, Arizona, USA: ASME
International Mechanical Engineering Conference & Exposition.


Chang, Y., Aziz, E.-S., Zhang, Z., Zhang, M., Esche, S. (2016). Evaluation of a video game
adaptation for mechanical engineering educational laboratories. Erie, Pennsylvania, USA:
ASEE/IEEE Frontiers in Education Conference.


Zhang, Z., Zhang, M., Chang, Y., Aziz, E.-S., Esche, S., Chassapis, C. (2016). A virtual
laboratory system with biometric authentication and remote proctoring based on facial
recognition. ASEE Annual Conference & Exposition.


Zhang, Z., Zhang, M., Chang, Y., Esche, S. K., Chassapis, C. (2015). A Smart Method for
Developing Game-Based Virtual Laboratories. ASME 2015 International Mechanical
Engineering Congress and Exposition (pp. V005T05A036–V005T05A036).


Zhang, M., Zhang, Z., Chang, Y., Esche, S. K., Chassapis, C. (2015). Simultaneous Tracking and
Reconstruction (STAR) of Objects and its Application in Educational Robotics Laboratories.
Seattle, Washington, USA: ASEE Annual Conference & Exposition.


Chang, Y., Aziz, E.-S., Zhang, Z., Zhang, M., Esche, S., Chassapis, C. (2014). A Platform for
Mechanical Assembly Education Using the Microsoft Kinect (pp. V005T05A019–
V005T05A019). Montreal, Quebec, Canada: ASME International Mechanical Engineering
Conference & Exposition.




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Zhang, M., Zhang, Z., Esche, S. K., Chassapis, C. (2014). Algorithm Modification Approach to
Improve the Kinect’s Performance in Point Cloud Processing (pp. V005T05A015–
V005T05A015). Montreal, Quebec, Canada: ASME International Mechanical Engineering
Conference & Exposition.


Zhang, Z., Zhang, M., Chang, Y., Esche, S. K., Chassapis, C. (2014). An Efficient Method for
Creating Virtual Spaces for Virtual Reality (pp. V005T05A016–V005T05A016). Montreal,
Quebec, Canada: ASME International Mechanical Engineering Conference & Exposition.


Zhang, M., Zhang, Z., Aziz, E.-S., Esche, S. K., Chassapis, C. (2013). Kinect-based universal
range sensor for laboratory experiments (pp. V005T05A047–V005T05A047). San Diego,
California, USA: ASME International Mechanical Engineering Conference & Exposition.


Zhang, Z., Zhang, M., Chang, Y., Aziz, E.-S., Esche, S. K., Chassapis, C. (2013). Real-time 3D
model reconstruction and interaction using Kinect for a game-based virtual laboratory (pp.
V005T05A053–V005T05A053). San Diego, California, USA: ASME International Mechanical
Engineering Conference & Exposition.


Zhang, M., Zhang, Z., Esche, S. K., Chassapis, C. (2013). Universal range data acquisition for
educational laboratories using Microsoft Kinect. Atlanta, Georgia, USA: ASEE Annual
Conference & Exposition.


Tumkor, S., Zhang, M., Zhang, Z., Chang, Y., Esche, S. K., Chassapis, C. (2012). Integration of
a real-time remote experiment into a multi-player game laboratory environment (pp. 181–190).
Houston, Texas, USA: ASME International Mechanical Engineering Conference & Exposition.


Presentations Given


Zhang, M., 2018 International Mechanical Engineering Conference & Exposition, "Immersive
Educational Systems with Procedure-Oriented Combination of Real and Virtual Environments,"
American Society of Mechanical Engineering, Pittsburgh, USA. (November 15, 2018).


Zhang, M., 2018 ASEE Annual Conference & Exposition, "Conceptual Framework for
Integrating a Wireless Sensor and Control Network into a Robotics Course for Senior Students of
                                              B-6
  Case: 1:20-cv-00247 Document #: 4-18 Filed: 01/14/20 Page 45 of 51 PageID #:247




Mechanical Engineering Technology," American Society for Engineering Education, Salt Lake
City, Utah. (June 27, 2018).


Zhang, M., 2017 ASEE Annual Conference & Exposition, "Development of automatic
reconfigurable robotic arms using vision-based control," American Society for Engineering
Education, Columbus, Ohio. (June 26, 2017).


Zhang, M., 2015 ASEE Annual Conference & Exposition, "Simultaneous Tracking and
Reconstruction (STAR) of Objects and its Application in Educational Robotics Laboratories,"
Seattle. (June 14, 2015).


Zhang, M., ASME International Mechanical Engineering Conference & Exposition, "Algorithm
Modification Approach to Improve the Kinect's Performance in Point Cloud Processing,"
Montreal, Quebec, Canada. (November 14, 2014).


Teaching
Southern Illinois University Edwardsville
IE 106, Engineering Problem Solving, 2 courses.
ME 262, Dynamics, 3 courses.
ME 354, Numerical Simulation, 2 courses.
ME 380L, Stress Laboratory, 3 courses.
ME 452, Vibrations, 3 courses.
ME 482, Mechanical Engr Design I, 1 course.
ME 484, Mechanical Engr Design II, 1 course.
ME 599, Thesis, 2 courses.
MRE 320, Sensors and Actuators, 2 courses.
MRE 480, Design in Mech and Rob I, 1 course.




Directed Student Learning

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Master's Project Committee Chair, Mech and Indus Engr. (August 2018 - Present).
Advised: Yutong Liu


Master's Thesis Committee Chair, Mech and Indus Engr. (January 2018 - Present).
Advised: Pengji Duan


Master's Thesis Committee Chair. (January 9, 2017 - Present).
Advised: Sai Kiran


Senior Assignment Supervision, Mech and Indus Engr. (August 2018 - May 2019).
Advised: Mattew Mancewizc, Andrew Stricler, Nathaniel Day, Nicolas Coglianese


Master's Project Committee Member, "Electrochemical Modeling of Lithium-Ion Batteries,"
Mech and Indus Engr. (December 2018).
Advised: Michael Miller


Student Teaching/Clinical Supervision, "Temperature Compensation of Capacitive Pressure
Sensors for Harsh Environment Applications," Mech and Indus Engr. (December 2018).
Advised: Rahul Suthar


URCA Mentor, Mech and Indus Engr. (August 2018 - December 2018).
Advised: Jonathan Cheatham, Christopher Couch, Jason Couch


Directed Individual/Independent Study, "Reflection of Sound in 3D Modeling," Mech and Indus
Engr. (March 2018 - December 2018).
Advised: Colton McClintock


Master's Thesis Committee Member, Mech and Indus Engr. (2017 - 2018).
Advised: Hunter Meadows




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Master's Thesis Committee Member, "Design Study of a Piezoelectric Curved THUNDER via
Finite Element Modeling," Mech and Indus Engr. (2017 - 2018).
Advised: Md Nahid Hasan


Master's Thesis Committee Member, "Energy Harvesting of Lead-free Piezoelectric Ceramics
Bimorphs," Mech and Indus Engr. (2017 - 2018).
Advised: Turki Mohammed Alghamdi


Master's Thesis Committee Member, "Design of PID Controller Based on the Stabilizing Set,"
Mech and Indus Engr. (2017 - 2018).
Advised: Xingzi Yang


URCA Mentor. (January 2018 - May 2018).
Advised: Husam Diab, Alexander Dinan, Alexander Hunsaker, Michael McCann


URCA Mentor, "Construction of Robotic Prosthetic Hand through Upper and Lower Arm
Muscle Pattern Recognition," Mech and Indus Engr. (August 15, 2017 - May 1, 2018).
Advised: Logan Sherrill


URCA Mentor. (September 2017 - December 2017).
Advised: Alex Dinan, Husam Diab, Shawn Gilles, Michael McCann


URCA Mentor, Mech and Indus Engr. (January 9, 2017 - May 15, 2017).
Advised: Bryan Kier, Alexander Dinan, Logan Sherrill, Husam Diab


Non-Credit Instruction


SIUE Engineering Camp, Southern Illinois University Edwardsville, 52 participants. (June 3,
2018).


Service
Department Service

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Committee Chair, ME Faculty Search Committee. (August 2018 - Present).


Committee Member, Mechanical Engineering Ad Hoc Committee. (November 2017 - Present).


Committee Member, Mechanical Engineering Undergraduate Committee. (August 16, 2016 -
Present).


Coordinator, Mechatronics and Robotics Program Coordinator. (August 16, 2016 - Present).


Committee Member, ME Faculty Search Committee. (October 20, 2016 - May 15, 2017).


College Service


Committee Member, School of Engineering Safety Committee. (August 16, 2017 - Present).


Faculty Advisor, Boeing Gofly challenge. (October 2017 - April 2018).


University Service


Committee Chair, Chemistry Undergraduate Program Review. (September 2018 - Present).


Faculty Mentor, Bridging Universal Inclusion & Leadership Development (BUILD). (August
2018 - Present).


Committee Member, Graduate Council-Programs Committee. (August 2018 - Present).


Faculty Interviewer, Meridian Scholarship Interview. (2018).


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                                              10
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Faculty Mentor, Faculty & Staff Mentoring Students with Disabilities. (February 2018 - May
2018).


Professional Service


Program Organizer, ASME International Mechanical Engineering Congress & Exposition.
(November 2018 - Present).


Reviewer, Grant Proposal, National Science Foundation. (November 2018 - Present).


Session Moderator, 2018 ASEE Annual Conference & Exposition, Salt Lake City, Utah. (June
27, 2018 - Present).


Reviewer, Journal Article, Virtual Reality journal. (March 23, 2018 - Present).


Reviewer, Journal Article, Computer Applications in Engineering Education. (August 29, 2017 -
Present).


Reviewer, Journal Article, Journal: Learning and Instruction. (August 24, 2017 - Present).


Reviewer, Conference Paper, IEEE Control Systems Society Conference. (September 28, 2016 -
Present).


Reviewer, Conference Paper, International Conference on University Learning and Teaching.
(August 1, 2016 - Present).


Reviewer, Journal Article, IEEE Transactions on Learning Technologies. (May 5, 2016 -
Present).


Reviewer, Conference Paper, IEEE Frontiers in Education Conference. (April 12, 2016 -
Present).
                                               B-
                                               11
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Reviewer, Conference Paper, ASEE Annual Conference & Exposition. (September 1, 2013 -
Present).


Reviewer, Conference Paper, ASME's International Mechanical Engineering Congress and
Exposition. (September 1, 2013 - Present).


Reviewer, Grant Proposal, National Science Foundation, Alexandria, Virginia. (July 2018 -
October 2018).


Reviewer, Grant Proposal, National Science Foundation, Alexandria, Virginia. (March 7, 2018 -
April 30, 2018).


Public Service


Member, University Housing Faculty Fellows, Edwardsville, Illinois. (August 2018 - Present).


Mentor, School of Engineering Mentor Mixer, Edwardsville, Illinois. (October 16, 2017 -
Present).


Debate Judges, SIUE Energy Symposium, Edwardsville, Illinois. (November 27, 2018).


Media Contributions


Internet


SIUE News. (September 23, 2018).


SIUE News. (May 2, 2018).


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SIUE News. (April 16, 2018).


SIUE News. (October 27, 2017).




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                                        13
